           Case 2:04-cr-00026-WBS Document 52 Filed 06/02/05 Page 1 of 2


1    QUIN DENVIR, Bar #49374
     Federal Defender
2
     MATTHEW C. BOCKMON, Bar #161566
3    Assistant Federal Defender
     Designated Counsel for Service
4    801 I Street, 3rd Floor
     Sacramento, California 95814
5    Telephone: (916) 498-5700
6    Attorney for Defendant
     JAMES E. BLEDSOE
7
8
9                       IN THE UNITED STATES DISTRICT COURT
10                    FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,       )     No. CR-S-04-26-WBS GGH
                                     )
13                  Plaintiff,       )
                                     )     STIPULATION AND [PROPOSED] ORDER
14        v.                         )     MODIFYING CONDITIONS OF PRETRIAL
                                     )     RELEASE
15   JAMES E. BLEDSOE,               )
                                     )
16                  Defendant.       )
                                     )     Judge: Hon. Gregory G. Hollows
17   _______________________________ )
18
19        IT IS HEREBY STIPULATED AND AGREED between plaintiff, United
20   States of America, through Daniel S. Linhardt, Supervising Assistant
21   Federal Defender, and defendant, James E. Bledsoe, through his counsel,
22   Matthew C. Bockmon, Assistant Federal Defender, that the conditions of
23   pretrial release be amended to permit travel to the District of Arizona
24   with advance approval of Pretrial Services and upon condition that
25   James Bledsoe maintain telephonic contact with Pretrial Services as
26   directed while there.
27   //
28   //
              Case 2:04-cr-00026-WBS Document 52 Filed 06/02/05 Page 2 of 2


1         The parties further agree that all other conditions of release
2    shall remain in effect.
3    Dated:    May 26, 2005
4                                              Respectfully submitted,
5                                              QUIN DENVIR
                                               Federal Defender
6
                                               /s/ Matthew C. Bockmon
7                                              ________________________________
                                               MATTHEW C. BOCKMON
8                                              Assistant Federal Defender
                                               Attorney for Defendant
9                                              JAMES E. BLEDSOE
10   Dated:    May 26, 2005
                                               /s/ Matthew C. Bockmon for
11                                             ________________________________
                                               DANIEL S. LINHARDT
12                                             Assistant United States Attorney
                                               per telephonic authorization
13
14                                        O R D E R
15        It is so ordered that the conditions of Pretrial Release be
16   modified to permit travel to the District of Arizona with advance
17   approval of Pretrial Services and upon condition that James Bledsoe
18   maintain telephonic contact with Pretrial Services as directed while
19   there.
20   Dated: 6/1/05                             /s/ Gregory G. Hollows
                                               _____________________________
21                                                  GREGORY G. HOLLOWS
22
     bledsoe26.ord05
23
24
25
26   Stip & Order Modifying Conditions

27
28                                             2
